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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                       Magistrate Judge Maritza Dominguez Braswell

Civil Action No. 23–cv–02010–MDB


ROBERT S. (BOB) WILLETT,

       Plaintiff,

v.

FORMER 12TH JUDICIAL DISTRICT ATTORNEY ALONZO C. PAYNE, in his individual
and official capacity,
OFFICE OF THE DISTRICT ATTORNEY, 12TH JUDICIAL DISTRICT, in its official capacity,
FORMER ASSISTANT DISTRICT ATTORNEY R. ALEX RAINES, in his individual and
official capacity,
12TH JUDICIAL DISTRICT ATTORNEY’S OFFICE INVESTIGATOR SAM COFFMAN, in
his individual and official capacity,
12TH JUDICIAL DISTRICT ATTORNEY’S BUSINESS AND FINANCE ADMINISTRATOR
TAMMY ROGERS, in her individual and official capacity,
JOHN/JOHN DOES 1-10,
OTHER UNKNOWN EMPLOYEES OF THE 12TH JUDICIAL DISTRICT ATTORNEY, and
OTHER UNKNONW AGENTS OF ALAMOSA COUNTY AND THE 12TH JUDICIAL
DISTRICT.

       Defendants.


                     ORDER SETTING INITIAL CASE DEADLINES


               This case has been directly assigned to Magistrate Judge Maritza Dominguez
Braswell pursuant to D.C.COLO.LCivR 40.1(c) allowing the direct assignment of cases to
magistrate judges.

       IT IS HEREBY ORDERED:

     (1)   A Scheduling Conference will not be set unless:

               a. The Court determines that a Scheduling Conference is necessary for any
                  reason including, clarification, efficiencies, or to avoid unnecessary delays
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                 based on the parties’ proposed discovery deadlines; or

             b. The parties file a Proposed Scheduling Order With Disputed Issues, pursuant
                to Section (4) below.

    (2)   The parties shall submit their Proposed Scheduling Order, pursuant to District of
          Colorado Electronic Case Filing (“ECF”) Procedures, on or before:

                                        October 18, 2023.


          A copy of instructions for the preparation of a scheduling order and a form scheduling
          order can be downloaded from the Court’s website at
          www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx.

    (3)   The parties shall prepare the appropriate Proposed Scheduling Order in accordance
          with the Court’s form.

    (4)   In the event the parties disagree on any deadline or limitation, they shall file a
          Proposed Scheduling Order with competing deadlines and/or proposals, and alert
          the Court to the fact that there are disputed issues by using the following title in
          the Docket Text: “Proposed Scheduling Order With Disputed Issues”

    (5)   The parties shall complete and file the Election Concerning Consent/Non-Consent to
          United States Magistrate Judge Jurisdiction indicating either unanimous consent of
          the parties or that consent has been declined on or before:

                                        October 18, 2023.

          Please note that this date may be earlier or later than the default deadlines
          contemplated in D.C.COLO.LCivR 40.1(c)(4).

    (6)   The parties shall confer in accordance with Fed. R. Civ. P. 26(f). The parties may
          meet by telephone conference. All parties are jointly responsible for arranging and
          attending the Rule 26(f) meeting.

    (7)   During the Rule 26(f) meeting, the parties shall:
            a. discuss the nature and basis of their claims and defenses,
            b. make or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1),
            c. develop their proposed scheduling/discovery plan,
            d. discuss the possibility of informal discovery, such as conducting joint
                interviews with potential witnesses, joint meetings with clients, depositions
                via telephone, or exchanging documents outside of formal discovery, and

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             e. discuss the need for any special arrangements such as site visits, protective
                orders, interpreters, etc., and
             f. discuss the possibilities for a prompt settlement or resolution of the case.

    (8)   In those cases in which:
              a. the parties’ substantive allegations involve extensive computer-generated
                  records; or
              b. a substantial amount of disclosure or discovery will involve information or
                  records in electronic form (i.e., e-mail, word processing, databases); or
              c. expert witnesses will develop testimony based in large part on computer data
                  and/or modeling; or
              d. any party plans to present a substantial amount of evidence in digital form at
                  trial,
           the parties shall confer regarding steps they can take to preserve computer records
           and data, facilitate computer-based discovery and who will pay costs, resolve
           privilege issues, limit discovery costs and delay, and avoid discovery disputes
           relating to electronic discovery.

    (9)   The parties shall provide a brief overview of these issues and any agreed upon
          arrangements, in the Proposed Scheduling Order.

    (10) Sections (5) through (7) above set forth the minimum requirements for the Rule 26(f)
         meeting. The parties are encouraged to have a comprehensive discussion and are
         required to approach the meeting cooperatively and in good faith. The parties are
         reminded that the purpose of the Rule 26(f) meeting is to expedite the disposition of
         the action, discourage wasteful pretrial activities, and improve the quality of any
         eventual trial through more thorough preparation. The discussion of claims and
         defenses shall be a substantive, meaningful discussion. The parties are reminded
         that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be sought prior to the Rule
         26(f) meeting.

    (11) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
         P. 26(a)(1). Counsel and parties are reminded that mandatory disclosure requirements
         encompass computer-based evidence which may be used to support claims or
         defenses. Mandatory disclosures must be supplemented by the parties consistent with
         the requirements of Fed. R. Civ. P. 26(e). Mandatory disclosures and
         supplementation are not to be filed with the Clerk of the Court.

    (12) In the event the parties require the Court’s assistance before filing a Proposed
         Scheduling Order, they can request a Pre-Scheduling Conference by filing a 1-
         page joint letter motion that briefly sets forth:
            a. The matters in dispute; and
            b. The reason(s) a Pre-Scheduling Conference will assist the parties in resolving
                their dispute(s); and

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             c. A request that the Court set a Pre-Scheduling Conference, along with any
                dates that will not work for the parties.

    (13) Where one or more parties are pro se, the court encourages the parties to request a
         Pre-Scheduling Conference, which can be helpful in streamlining processes.

    (14) Pro se parties not participating in ECF shall submit their Proposed Scheduling Order
         on paper to the Clerk’s Office. However, if any party in the case is participating in
         ECF, it is the responsibility of that party to submit the Proposed Scheduling Order
         pursuant to the District of Colorado ECF Procedures.

    (15) All parties are expected to be familiar with the United States District Court for the
         District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are
         available from Office of the Clerk, United States District Court for the District of
         Colorado, or through the District Court’s web site: www.cod.uscourts.gov.

    (16) The plaintiff(s) or, on removed cases, the defendant(s), shall provide a copy of this
         Order to all parties who have not yet entered an appearance.


    Dated this 9th day of August, 2023.

                                                   BY THE COURT:



                                                   _________________________________
                                                   Maritza Dominguez Brawell
                                                   United States Magistrate Judge




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